      Case: 1:24-cv-01606-BMB Doc #: 35 Filed: 03/28/25 1 of 2. PageID #: 1210




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

FANNIE MAE                                   :
                                             :       Case No. 1:24-cv-1606
                       Plaintiff,            :
                                             :       Judge Bridget Meehan Brennan
        vs.                                  :
                                             :
HATZ ONE LLC, et al.,                        :
                                             :
                       Defendants.           :


               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE


        Notice is hereby given that Attorney Daniel J. Bennett of the law firm Bennett Law Group,

LLC hereby enters his appearance as counsel of record for Park National Capital Funding, LLC in

the above-captioned matter.    All correspondence, pleadings and court notices should be served

upon Mr. Bennett at the mailing and/or electronic address listed below.

                                             Respectfully Submitted,

                                             /s/ Daniel J. Bennett
                                             Daniel J. Bennett (0079932)
                                             Bennett Law Group, LLC
                                             81 Mill Street, Suite 300
                                             Gahanna, OH 43230
                                             Telephone: (614) 416-8147
                                             Fax: (614) 416-8153
                                             Email: dan@danbennettlaw.com
                                             Counsel for Park National Capital Funding, LLC
      Case: 1:24-cv-01606-BMB Doc #: 35 Filed: 03/28/25 2 of 2. PageID #: 1211




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt.

                                               /s/ Daniel J. Bennett
                                               Daniel J. Bennett




                                                  2
4813-6433-9619, v. 1
